Case 2:18-cv-06975-ODW-KS Document 247 Filed 04/06/23 Page 1 of 2 Page ID #:10516


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 8                        UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                                  WESTERN DIVISION
11   MICHAEL TERPIN,                           CASE NO. 2:18-CV-06975-ODW-KS
12                    Plaintiff,                ORDER GRANTING DEFENDANT
           v.                                  AT&T MOBILITY LLC’S
13                                             UNOPPOSED MOTION TO UNSEAL
     AT&T MOBILITY LLC; and DOES               THE COURT’S SUMMARY
14   1-25,                                     JUDGMENT ORDER [DKT. 243]
15                    Defendants.
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     [PROPOSED] ORDER GRANTING DEFENDANT AT&T MOBILITY LLC’S UNOPPOSED MOTION TO
                 UNSEAL THE COURT’S SUMMARY JUDGMENT ORDER [DKT. 243]
                              CASE NO. 2:18-CV-06975-ODW-KS
Case 2:18-cv-06975-ODW-KS Document 247 Filed 04/06/23 Page 2 of 2 Page ID #:10517


 1         Having considered Defendant AT&T Mobility LLC’s Unopposed Motion to
 2   Unseal the Court’s Summary Judgment Order [Dkt. 243] and for good cause appearing,
 3   the Court GRANTS the Motion. The Clerk of the Court shall unseal Dkt. 243 and make
 4   it publicly available.
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     IT IS SO ORDERED.
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 9   DATED: April 6, 2023                        _________________________________
                                                 The Honorable Otis D. Wright II
10                                               UNITED STATES DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING DEFENDANT AT&T MOBILITY LLC’S UNOPPOSED MOTION TO
                 UNSEAL THE COURT’S SUMMARY JUDGMENT ORDER [DKT. 243]
                              CASE NO. 2:18-CV-06975-ODW-KS
